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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    NORTHWEST BORING COMPANY, INC.,                        CASE NO. C17-0174-JCC
10                           Plaintiff,                      MINUTE ORDER
11            v.

12    ZURICH AMERICAN INSURANCE
      COMPANY,
13
                             Defendant.
14

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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulation (Dkt. No. 34) to extend the
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     expert witness disclosure deadline, currently set to April 10, 2018 (Dkt. No. 14 at 2). Finding
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     good cause, the Court GRANTS the parties’ motion (Dkt. No. 34). The expert witness disclosure
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     deadline in the matter is extended to April 26, 2018.
21
            DATED this 28th day of March 2018.
22
                                                              William M. McCool
23
                                                              Clerk of Court
24
                                                              s/Tomas Hernandez
25                                                            Deputy Clerk

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